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                              pROI~'I+'~RIINTERV~W A~R~~11~ENT


          The ground z•ules and conditions for any pxofferlinierview are set forth in this docnin~nt,
 wl~icli is 3 pages.

 The pax~ies to this Agreement a~•e the I'lrst Assistant United States Aftorney through her
 Assistant U,S. Attoxncys, Keviri M. Rapp,Domiiuc Lanza, Margret Parlmeter and Reginald
 cones, T~•ial Attorney, Deparhnent of Justice, I~irsta Leebuzg Melton, Assistant A.ttoxuey
 General, State ofTexas,Randy Mailman, Deputy Attoi~iey Genezal, Office of'the Attorney
 General, State of Calzfortua,("lie Prosecution") and Carl Ferxex a1~d Mr, Feirer's counsel,Na~~ci
 Clarence and Jonathan Baum,

 This Agreement binds the U.S. Department of7ustiee, acid the Attoix~.ey Generals' Clf~ces for the
 States of C~Iifoi~nia find Texas,

        1. The propose of as~y proffer(intezview is to evaluate oral and written statements and
proffered infoitnatzoli given by Mr, Ferrer azid leis agents (including but ~.at limited to his
attoi~eys) concerning his involvement with Bacicpage.com and related entities, Mr. Fever a~ees
fa proffer information ax participate i~ any iiaterview on an entirely voluntary basis. Iv.~. Fez~rcr
also undez~stands and a~~ees that he is not compelled in any w1y to participate in t~zs interview.

         2. Mr. Ferrer vofintaril~ waives all claims of attoi~ey-client privilege, vc~hether in his
personal or official capacrty as the Cl~ie;F Exect~.~ive Officer of Bacicpage.corn, LLC as to
cornmunzcatzous with arxy attorney or law firm tt~.at xepres~nted Backpage,com, or aay related
entity, where such coxnz~iunications concerned o~ related to Bacicpage.com or any related entity.
This waiver does not apply to Mr. Ferrer's cui7~ent attox~~eys, Nanei Clarence, Jonathan Baum And
aiiyof~e worl~ing oxz tl~eix behalf. Mr. Ferrer ~volunfiarily agrees fo provide all doetimei~ts and other
matez~i~l that inay be relevant to the investigation and that are in his possession or control,
However, Mr, Ferrer shall not disclose any documents or iliformatioll protected by f1~e Joint
Defense Agreement ul this matter. Mr, Fairer uz~de~:stands that his proffez/i~texview ~fid any
beizefit he may receive :From information he provides to the prosectttzox~ does ~.ot depend ou his
waiver ofthe atto~iey-client privilege,

        3, The agreement is explicitly contingent upon M~~, k'er~ex~ providing t~~thful statements
and t~•athful inforinat~on. In any interview or proffer, Mr. Ferrer and hzs agents till coYnpletely
and.truthfully aiiswex all questions, will pzovzde complete and t~utl2ful information relating to and
and all matters, azid will malce no nxateiial misstateznez~ts ox omissions offacts, Mr. Ferrer further
understands that he wi11 neithei attempt to pxotect any person or entity nor falsely implicafie any
person or entity, through false informatran or omission. Nevei~thcless,iio tntthfi~l stateineuts made
by or huthfitl information provided Uy NIr. Fazxer or his agents du~~n~ the interview, or otherwise
pro:Ffered, will be used directly agaizast Mr,k'ei7er dtuxng any lztigatio~i or proceedizag instituted by
the Prosecution, The prosecution will be the ultimate arbiter ofthe tiuthfiihiess of any statement
ox information,
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          4. Nothing in paragraph 4 above, hawevex~, prevents the Prosecution fiom malting
  derivative use of and pursuing Any .investigative leads (i.e. fruits) suggested by any statements
  made by or ottzer information proffezed or provided by Mx, Far~er ax lus agents. In atk~ex wands,
  except as expressly stated above, Mr. Ferrer understands and a~ees that there are zio limitations
  whatsoever on the use the Prosecution caii make a~'tl~e testimony and infoimatian provided in any
  iuteiview oY Qt~1~Twise pzofferec~ b~ M~.~. Fearer or his agents, either oratly ax•in writing, both before
  and aftez• azry iuz~e~•view of Mr, Fenei. Mr. Ferrer exp~essl~ naives any right to challenge the
  dexxvative use of any stateza~ents oz• infoz-tnation provided dulYng the interview or otherwise
 proffez~ed by Mr. Ferxer or his age~lts, It is the intent ofthis agreement that such derivative use is
 pxoper and the prosecution and Mr. Fex•.rer hereby agree that Federal Ri~1e of Criminal Proceduze
 11(fl, a~~d Federal Rules of Evidence 408 and 410 and, do not go~ein such derivative use vi any
 Iitigation or other proeeedin~s. This provision is necessary to eliminate any need or argament for
 a Kastdgar l~.ear~ng at whic2i the Prosecutiozi would have to prove that the evidence it would
 ii~~~oduce at trial, or any other proceedings, is not associated with ox tauited by any statements
 made by or other information provided by N1t•. ~azxez dut7ng airy interview, ar was otherwise
 proffered to the Prosecution by Mx..~errer or lus agents.

          5. If Mt. Ferrer is a witness at any t~ia1 or other proceeding xelatizag to the int'ormatian he
 provides to investigating agents, and offers testimoi~~ matex~ialiy ~Iifferent fiorn a~iy statements or
 otliez ulformatio~l pY•ovided tIuxxng ~e interview or otlieiwise proffered by Mr.Ferrer oi~ hts agents,
 fihe Prosecttt~ioz~ xnay crass-examine witnesses (including Mr. Ferrer) and in#~oduce rebuttal
 evidence concerning any state~ez~ts or other information provided during any interview ox•
 otherwise pzoffercd b~ Mr, Ferrer or• his agents. In addition,the Prosecution xeselves the right to
prosecute Mr. Ferrer foF• pei~ttry, False official statement or obstzuctio~ ~fjustice to the fullest
extent provided by law. Tf such a prosecu#ion occurs, Elie Prosecution can rise duectly, and
dezivati~ely, in their case-izi-chief, in cross-examination axzd in rebuttal, any sta#ements and
information provided by Mr. Ferrer, whether directly or iiidireotly tluough his agents, or
derivatively linked to the statements and other infoixnation IVI~. Fezxer or his age~.ts supplied in any
in#eiview or other proffer by Mr. Ferrer oz his agents, This provision is needed to ensure that Mx~.
Feixer does not abuse the opportunity for an interview ox pz~offer of information, does not malte
materially faXse statements to a ~overnmcnt agency either orally or in writing (directly or
it~clizectly), and does z~ot commit pezjury when testifying at trial ox iii any other legal proceeding

        6. fir:. Ferrer tinderstancls that tkze law {specifically,Bf ady v. Maryland.} requires that t~~e
Prosecution provide any person against whom chaxges are brottglit, all information wlucli tends to
mitigate or negate the person's guzlt as to the offexlses charged. Therefore, Mr. Fer~'er understands
that if Brady iilatezial is developed or ~rodttced from the interview or in any proffez•, the~~ the
Prosecution vc~ottld be required to disclose this information to the appropriate defendants and/or
their attorneys at the time the obligation is imposed on the P~•osecutiou. Tuis provision is included
to permittl~.e Pxoseet~tioYz to comply with its discovery obligatio~~s end rs not iiitencled to discourage
Mr. Tamer from.pxovid~ing iziformation to the Prosecution.

         7, With the exception of providing z'egttired notice itzader the Jou1t Defense A~reemeilt
in this case, Mr. Ferrer will not, personAlly or tllrougli any other person {includi~ag but:not limited
to his attorneys), disclose the existence ofthis agreeinei~t or any interview or proffer, or anything
otherwise said during the interview or proffered to the Prosecution, or any information relating to
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 Mi~, Fexrer's 000peration with the Prosecution (except that if an at~oruey for mother putative o~~
 actual defendant asks Mx. Ferret's counsel or successors vvlzether Mr,Ferrer is coope~•ating wi~~
 the United States, counsel oz~ successozs may confiz:m the fact that Mr,Fener is cooperating, but
 will not disclose any other information lbout Mr. Fert~ex's coo~era~ion).

        8. This documetlt is the fii11 and complete Agreeznexit of the pa1-~ies with regard to any
iuteivxew ox• pzoffered information, No other ~ro~nises, representations or agreements have been
made by or beLweeil the pai~ies witl~ ~~egAzd to aauy ~z~offex/ix~tezview or the underlying niattexs
za~ere~ced i~x t1~is written agreement. The porkies shall at all times act iii good faith to accomplish
their intent in entering zi~to this Agreement, Aaiy dispute betvsJeei~ the parties as to whether eithez•
party has wiled to fulfill any of ifs obligations under this Agreement sha11 be submitted to and
decided by tie TJnited States Distx7ct Cotu~t fax the Dist~xct o~Arizona.



AGI2EBD;                       ELIZABETH A. STTtANGE
                               First Assista~it United Stites Attorney


DATE                            VIN M,RAPP
                         DOMINIC LANZA
                         MARGI2ET PERLMETER
                             Assistance?, A rneys
                                 ...-•'...-~
DATE                           REGINA      E. r0 S,Trial Aitort~ey
                               U.S. Depar       f Jiistiee
~~ ~,—     ~~                  C'.d E ploit n a d O s enity Section

L>AtTE !
       ~                      ~TRSTA LEEBURG MELTON        ~4~_
                               ssistai~t Attorney General,
                              Office ofthe Attozne~ Genezal, State of Texas


DATE                          k~~~~'MAILMA.N,
                              Dapirty Aftoix~ey General,
                              Office the ~1.tto ~~ey Gcz~exal, State of California

   s~~~ ~                               .Cdc.z.ti.-......_--~—
DATE                          CARL FERRER



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DAT
  '                           NANCI CLAI~NCE,ESQ.
                              J'ONATIiAN BAUM,ESQ.
